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                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MICHIGAN

 IN RE:                                      §
                                             §
 Robert George Esdale                        §     CASE NO. 18-02082
                                             §     HON. Scott W Dales
    Debtor(s)                                §
                                             §

       ORDER GRANTING MOTION TO REDUCE NOTICE TIME FOR THE DEBTOR’S
              MOTION TO INCUR DEBT AND REFINANCE MORTGAGE

 This matter comes before the court on the Debtor’s Motion to Reduce Notice Time for the
 Debtor’s Motion Incur Debt and Refinance Mortgage [Dkt. No. 37] (the “Motion to Shorten”)
 filed by Jeffrey D. Mapes, PLC (the “Movant”), on behalf of Robert G. Esdale. The Motion to
 Shorten seeks to reduce the notice period in connection with the Debtor’s Motion to Incur Debt
 and Refinance Property [Dkt. No. 36] (the “Motion”) separately filed by the Movant.

 The court has reviewed the Motion to Shorten and finds that a hearing is unnecessary. The
 Motion to Shorten sufficiently demonstrates cause for reduction of the notice period as required
 by Fed. R. Bankr. P. 9006(c) and LBR 9013(i).

 NOW, THEREFORE, IT IS HEREBY ORDERED that the Motion to Shorten is granted.

 IT IS FURTHER ORDERED that a hearing on the Motion shall be held on November 21, 2019
 at 1:30 PM at the United States Bankruptcy Court for the Western District of
 Michigan, 315 West Allegan Street, Room 101, Lansing, Michigan.

 IT IS FURTHER ORDERED that any objection to the Motion shall be filed with the court and
 served on requisite parties no later than November 20, 2019.

 IT IS FURTHER ORDERED that in the event no objections are timely filed, the Movant may
 file a certificate of no objection, in which case the court may enter an order approving the relief
 sought without the need for a hearing.

 IT IS FURTHER ORDERED that the Movant shall serve a copy of this Order, the Motion and
 all documents related thereto upon requisite parties by electronic mail, facsimile or overnight
 delivery to the best available address before the close of business, November 15, 2019.

                                        END OF ORDER




IT IS SO ORDERED.
Dated November 15, 2019
